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             SEALED
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                                                                                January 14, 2014




                                                   SEALED ORDER
                                                   xxxxxxxxx




                                                                       Wednesday, March 26, 2014


             3:00 p.m., in Courtroom 3C, before Magistrate Judge Nancy J. Koppe.
            FURTHER14th
                    ORDERED Ms. Kirtley shall file an Amended Certificate of Service

      indicating that personal service of the Sealed Motion to Continue Arraignment and
       Plea was served on government counsel as this case is SEALED, and therefore,

       electronic service (ECF) will not be automatically generated.

            DATED this 14th day of January, 2014.



                                            _________________________________
                                            UNITED STATES MAGISTRATE JUDGE
